Case 1:25-cv-00442-JMB-SJB   ECF No. 17, PageID.129   Filed 07/09/25   Page 1 of 37
Case 1:25-cv-00442-JMB-SJB   ECF No. 17, PageID.130   Filed 07/09/25   Page 2 of 37
Case 1:25-cv-00442-JMB-SJB   ECF No. 17, PageID.131   Filed 07/09/25   Page 3 of 37
Case 1:25-cv-00442-JMB-SJB   ECF No. 17, PageID.132   Filed 07/09/25   Page 4 of 37
Case 1:25-cv-00442-JMB-SJB   ECF No. 17, PageID.133   Filed 07/09/25   Page 5 of 37
Case 1:25-cv-00442-JMB-SJB   ECF No. 17, PageID.134   Filed 07/09/25   Page 6 of 37
Case 1:25-cv-00442-JMB-SJB   ECF No. 17, PageID.135   Filed 07/09/25   Page 7 of 37
Case 1:25-cv-00442-JMB-SJB   ECF No. 17, PageID.136   Filed 07/09/25   Page 8 of 37
Case 1:25-cv-00442-JMB-SJB   ECF No. 17, PageID.137   Filed 07/09/25   Page 9 of 37
Case 1:25-cv-00442-JMB-SJB   ECF No. 17, PageID.138   Filed 07/09/25   Page 10 of
                                      37
Case 1:25-cv-00442-JMB-SJB   ECF No. 17, PageID.139   Filed 07/09/25   Page 11 of
                                      37
Case 1:25-cv-00442-JMB-SJB   ECF No. 17, PageID.140   Filed 07/09/25   Page 12 of
                                      37
Case 1:25-cv-00442-JMB-SJB   ECF No. 17, PageID.141   Filed 07/09/25   Page 13 of
                                      37
Case 1:25-cv-00442-JMB-SJB   ECF No. 17, PageID.142   Filed 07/09/25   Page 14 of
                                      37
Case 1:25-cv-00442-JMB-SJB   ECF No. 17, PageID.143   Filed 07/09/25   Page 15 of
                                      37
Case 1:25-cv-00442-JMB-SJB   ECF No. 17, PageID.144   Filed 07/09/25   Page 16 of
                                      37
Case 1:25-cv-00442-JMB-SJB   ECF No. 17, PageID.145   Filed 07/09/25   Page 17 of
                                      37
Case 1:25-cv-00442-JMB-SJB   ECF No. 17, PageID.146   Filed 07/09/25   Page 18 of
                                      37
Case 1:25-cv-00442-JMB-SJB   ECF No. 17, PageID.147   Filed 07/09/25   Page 19 of
                                      37
Case 1:25-cv-00442-JMB-SJB   ECF No. 17, PageID.148   Filed 07/09/25   Page 20 of
                                      37
Case 1:25-cv-00442-JMB-SJB   ECF No. 17, PageID.149   Filed 07/09/25   Page 21 of
                                      37
Case 1:25-cv-00442-JMB-SJB   ECF No. 17, PageID.150   Filed 07/09/25   Page 22 of
                                      37
Case 1:25-cv-00442-JMB-SJB   ECF No. 17, PageID.151   Filed 07/09/25   Page 23 of
                                      37
Case 1:25-cv-00442-JMB-SJB   ECF No. 17, PageID.152   Filed 07/09/25   Page 24 of
                                      37
Case 1:25-cv-00442-JMB-SJB   ECF No. 17, PageID.153   Filed 07/09/25   Page 25 of
                                      37
Case 1:25-cv-00442-JMB-SJB   ECF No. 17, PageID.154   Filed 07/09/25   Page 26 of
                                      37
Case 1:25-cv-00442-JMB-SJB   ECF No. 17, PageID.155   Filed 07/09/25   Page 27 of
                                      37
Case 1:25-cv-00442-JMB-SJB   ECF No. 17, PageID.156   Filed 07/09/25   Page 28 of
                                      37
Case 1:25-cv-00442-JMB-SJB   ECF No. 17, PageID.157   Filed 07/09/25   Page 29 of
                                      37
Case 1:25-cv-00442-JMB-SJB   ECF No. 17, PageID.158   Filed 07/09/25   Page 30 of
                                      37
Case 1:25-cv-00442-JMB-SJB   ECF No. 17, PageID.159   Filed 07/09/25   Page 31 of
                                      37
Case 1:25-cv-00442-JMB-SJB   ECF No. 17, PageID.160   Filed 07/09/25   Page 32 of
                                      37
Case 1:25-cv-00442-JMB-SJB   ECF No. 17, PageID.161   Filed 07/09/25   Page 33 of
                                      37
Case 1:25-cv-00442-JMB-SJB   ECF No. 17, PageID.162   Filed 07/09/25   Page 34 of
                                      37
Case 1:25-cv-00442-JMB-SJB   ECF No. 17, PageID.163   Filed 07/09/25   Page 35 of
                                      37
Case 1:25-cv-00442-JMB-SJB   ECF No. 17, PageID.164   Filed 07/09/25   Page 36 of
                                      37
Case 1:25-cv-00442-JMB-SJB   ECF No. 17, PageID.165   Filed 07/09/25   Page 37 of
                                      37
